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EXHIBIT E
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UNITED STATES OF AMERICA
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

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CHAIRMAN; MEMBERS: . . DIRECT REPLY°TO:
Judge Wm, Terrell Hodges Judge John F, Keenan Judge Robert L. Miller, Ir. :
United States District Court United States District Court United States District Court Michael J. Beck
Middle District of Florida Souther District of New York Norther District of Indiana Clerk of the Panel
Judge D. Lowell Jensen Judge Kathryn H, Vratil Se ead Niaehall feet
United States District Court United States District Court Judit Building
Norther District of California District of Kansas Room 6-255, North Lobby
Judge J. Frederick Motz Judge David R, Hansen, Washington, D.C. 20002
United States District Court nited States Court of Appeais . .
District of Maryland Bighth Circuit Fee nen ee Soa 888
hitp-/Awww.jpml uscourts.gov
February 8, 2005
TO INVOLVED COUNSEL

Re: MDL-1629 -- In re Neurontin Marketing and Sales Practices Litigation

(See Attached Schedule CTO-3)
Dear Counsel:

Attached is a copy of a conditional transfer order filed today by the Judicial Panel on Multidistrict
Litigation involving the above matter. The actions are transferred pursuant to Rule 7.4 of the Rules of

Procedure of the Judicial Panel on Multidistrict Litigation, 199 F.R.D. 425, 435-36 (2001). Copies of Rule
5.2, dealing with service, and Rules 7.4 and 7.5, regarding "tag-along” actions, are attached.

Inasmuch as there is an unavoidable time lag between notification of the pendency of the tag-along
action and the filing of a conditional transfer order, counsel are required by Rule 7.4(b) to notify this office
BY FACSIMILE, at (202) 502-2888, of any official changes in the status of the tag-along action. These
changes could involve dismissal of the action, remand to state court, transfer to another federal court, etc., as
indicated by an order filed by the district court. Your cooperation would be appreciated.

NOTICE OF OPPOSITION DUE ON OR BEFORE: February 23, 2005 (4 p.m. EST)
(Facsimile transmission is suggested.)

If you are considering opposing this conditional transfer order, please review Rules 7.4 and 7.5 of the
Panel Rules before filing your Notice of Opposition. Please file one Notice of Opposition (with an attached
schedule of actions, if necessary) if you are opposing the transfer of more than one action. A consolidated
Motion and Brief to Vacate the CTO, with attached schedule of actions, is acceptable and encouraged.

A list of involved counsel is attached.
Very truly,

Michael! J. Beck
Clerk of the Panel
By : lui
. Deputy Clerk
Attachments

JPML Form 394

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JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION

FEB - 8 2005

FILED
CLERK'S OFFICE

DOCKET NO. 1629

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
IN RE NEURONTIN MARKETING AND SALES PRACTICES LITIGATION

(SEE ATTACHED SCHEDULE)

CONDITIONAL TRANSFER ORDER (CTO-3)

On October 26, 2004, the Panel transferred 23 civil actions to the United States District Court for
the District of Massachusetts for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. Since that time, 12 additional actions have been transferred to the District of
Massachusetts. With the consent of that court, all such actions have been assigned to the
Honorable Patti B. Saris. ,

It appears that the actions on this conditional transfer order involve questions of fact which are
common to the actions previously transferred to the District of Massachusetts and assigned to
Judge Saris.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation,
199 F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the
District of Massachusetts for the reasons stated in the order of October 26, 2004, 342 F.Supp.2d
1350 (J.P.M.L, 2004), and, with the consent of that court, assigned to the Honorable Patti B.
Saris.”

This order does not become effective until it is filed in the Office of the Clerk of the United
States District Court for the District of Massachusetts. The transmittal of this order to said Clerk
shall be stayed fifteen (15) days from the entry thereof and if any party files a notice of
opposition with the Clerk of the Panel within this fifteen (15) day period, the stay will be
continued until further order of the Panel.

FOR THE PANEL:

Michael J. Beck
Clerk of the Panel

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SCHEDULE CTO-3 - TAG ALONG ACTIONS \
DOCKET NO. 1629 .
IN RE NEURONTIN MARKETING AND SALES PRACTICES LITIGATION

DISTRICT DIV. C.A#

COLORADO
co 1 04-2690 Sean McMinn v. Pfizer, Inc., et al.
NEW JERSEY
NJ 2 05-95 Assurant Health, Inc., et al. v. Pfizer, Inc., et al.
NEW YORK SOUTHERN
NYS 1 04-7960 Stephen Brodsky v. Pfizer, Inc., et al.
NYS 1 04-7961 Dan Huffman, etc. v. Pfizer, Inc., et al.
NYS 1 04-8464 Patti Paulsen, etc. v. Pfizer, Inc., et al.
NYS 1 04-8719 Rosalia Sumait, et al. v. Pfizer, Inc., et al.
NYS 1 04-8720 Monica Smith, etc. v. Pfizer, Inc., et al.

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INVOLVED COUNSEL FOR SCHEDULE CTO-3 :
DOCKET NO. 1629
IN RE NEURONTIN MARKETING AND SALES PRACTICES LITIGATION

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RULE 5.2: SERVICE OF PAPERS FILED

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(a) All papers filed with the Clerk of the Panel shall be accompanied by proof of previous or
simultaneous service on all other parties in all actions involved in the litigation. Service and proof of
service shall be made as provided in Rules 5 and 6 of the Federal Rules of Civil Procedure. The proof of
service shall indicate the name and complete address of each pérson served and shall indicate the party
represented by each. Ifa party is not represented by counsel, the proof of service shall indicate the name
of the party and the party's last known address. The proof of service shall indicate why any person
named as a party in a constituent complaint was not served with the Section 1407 pleading. The original
proof of service shall be filed with the Clerk of the Panel and copies thereof shall be sent to each person
included within the proof of service. After the "Panel Service List" described in subsection (d) of this
Rule has been received from the Clerk of the Panel, the "Panel Service List" shall be utilized for service
of responses to motions and all other filings. In such instances, the "Panel Service List" shall be attached
to the proof of service and shall be supplemented in the proof of service in the event of the presence of
additional parties or subsequent corrections relating to any party, counsel or address already on the
“Panel Service List.”

(b) The proof of service pertaining to motions for transfer of actions pursuant to 28 U.S.C.
§1407 shall certify that copies of the motions have been mailed or otherwise delivered for filing to the
clerk of each district court in which an action is pending that will be affected by the motion. The proof
of service pertaining to a motion for remand pursuant to 28 U.S.C. §1407 shall certify that a copy of the
motion has been mailed or otherwise delivered for filing to the clerk of the Section 1407 transferee
district court in which any action affected by the motion is pending.

(c) Within eleven days of filing of a motion to transfer, an order to show cause or a
conditional transfer order, each party or designated attorney shall notify the Clerk of the Panel, in
writing, of the name and address of the attorney designated to receive service of all pleadings, notices,
orders and other papers relating to practice before the Judicial Panel on Multidistrict Litigation. Only
one attorney shall be designated for each party. Any party not represented by counsel shall be served by
mailing such pleadings to the party's last known address. Requests for an extension of time to file the
designation of attorney shall not be granted except in extraordinary circumstances.

(d) In order to facilitate compliance with subsection (a) of this Rule, the Clerk of the Panel
shall prepare and serve on all counsel and parties not represented by counsel, a "Panel Service List"
containing the names and addresses of the designated attorneys and the party or parties they represent in
the actions under consideration by the Panel and the names and addresses of the parties not represented
by counsel in the actions under consideration by the Panel. After the “Panel Service List” has been
received from the Clerk of the Panel, notice of subsequent corrections relating to any party, counsel or
address on the “Panel Service List” shall be served on all other parties in all actions involved in the
litigation.

(e) If following transfer of any group of multidistrict litigation, the transferee district court
appoints liaison counsel, this Rule shall be satisfied by serving each party in each affected action and all
liaison counsel. Liaison counsel designated by the transferee district court shall receive copies of all
Panel orders concerning their particular litigation and shall be responsible for distribution to the parties
for whom he or she serves as liaison counsel.
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RULE 7.4: CONDITIONAL TRANSFER ORDERS FOR "TAG-ALONG ACTIONS"

(a) Upon learning of the pendency of a potential "tag-along action," as defined in Rule 1.1 of
these Rules, an order may be entered by the Clerk of the Panel transferring that action to the previously
designated transferee district court on the basis of the prior hearing session(s) and for the reasons }
expressed in previous opinions and orders of the Panel in the litigation. The Clerk of the Panel shall
serve this order on each party to the litigation but, in order to afford all parties the opportunity to oppose
transfer, shall not send the order to the clerk of the transferee district court for fifteen days from the entry
thereof. :

(b) Parties to an action subject to a conditional transfer order shall notify the Clerk of the
Panel within the fifteen-day period if that action is no longer pending in its transferor district court.

(c) Any party opposing the transfer shall file a notice of opposition with the Clerk of the
Panel within the fifteen-day period. Ifa notice of opposition is received by the Clerk of the Panel within
this fifteen-day period, the Clerk of the Panel shall not transmit said order to the clerk of the transferee
district court until further order of the Panel. The Clerk of the Panel shall notify the parties of the
briefing schedule.

(d) Within fifteen days of the filing of its notice of opposition, the party opposing iransfer
shall file a motion to vacate the conditional transfer order and brief in support thereof, The Chairman of
the Panel shail set the motion for the next appropriate hearing session of the Panel. Failure to file and
serve a motion and brief shall be treated as withdrawal of the opposition and the Clerk of the Panel shall
forthwith transmit the order to the clerk of the transferee district court.

(e) Conditional transfer orders do not become effective unless and until they are filed with
the clerk of the transferee district court.

(fh) Notices of opposition and motions to vacate. such orders of the Panel and responses
thereto shall be governed by Rules 5.12, 5.2, 7.1 and 7.2 of these Rules.

RULE 7.5: MISCELLANEOUS PROVISIONS CONCERNING "TAG-ALONG ACTIONS"

(a) Potential "tag-along actions" filed in the transferee district require no action on the part
of the Panel and requests for assignment of such actions to the Section 1407 transferee judge should be
made in accordance with local rules for the assignment of related-actions.

(b) Upon learning of the pendency of a potential "tag-along action" and having reasonable
anticipation of opposition to transfer of that action, the Panel may direct the Clerk of the Panel to file a
show cause order, in accordance with Rule 7.3 of these Rules, instead of a conditional transfer order.

(c) Failure to serve one or more of the defendants in a potential "tag-along action" with the
complaint and summons as required by Rule 4 of the Federal Rules of Civil Procedure does not preclude
transfer of such action under Section 1407. Such failure, however, may be submitted by such a defendant
as a basis for opposing the proposed transfer if prejudice can be shown. The inability of the Clerk of the
Panel to serve a conditional transfer order on all plaintiffs or defendants or their counsel shall not render
the transfer of the action void but can be submitted by such a party as a basis for moving to remand as to
such party if prejudice can be shown.

(d) A civil action apparently involving common questions of fact with actions under
consideration by the Panel for transfer under Section 1407, which was either not included in a motion
under Rule 7.2 of these Rules, or was included in such a motion that was filed too late to be included in
the initial hearing session, will ordinarily be treated by the Panel as a potential "tag-along action."

(2) Any party or counsel in actions previously transferred under Section 1407 or under
consideration by the Panel for transfer under Section 1407 shall promptly notify the Clerk of the Panel of
any potential "tag-along actions" in which that party is also named or in which that counsel appears.

